       Case 1:20-cv-09153-PGG-JW Document 85 Filed 03/09/22 Page 1 of 1


                                                                   USDC SDNY
UNITED STATES DISTRICT COURT                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                      ELECTRONICALLY FILED
AKHMED GADZHIEVICH BILALOV,                                        DOC #: _________________
                                                                   DATE FILED: 3/9/2022
                      Plaintiff,

               -against-                                                20 Civ. 9153 (AT)

HERMAN GREF, SBERBANK CIB USA, INC.,                                         ORDER
SBERBANK OF RUSSIA PJSC,

                Defendants.
ANALISA TORRES, District Judge:

         The Court has reviewed Plaintiff’s motion for entry of a temporary restraining order
(“TRO”). ECF Nos. 81–84. Although Plaintiff indicates he is seeking ex parte relief, see ECF
No. 82 at 5–7, he filed his TRO request publicly on the docket, thereby notifying Defendants of
the relief he seeks. And, the Court finds that, pursuant to Federal Rule of Civil Procedure 65(b),
Plaintiff has not made a sufficient showing that “immediate and irreparable injury, loss, or
damage will result to [him] before the adverse party can be heard in opposition.”
Fed. R. Civ. P. 65(b)(1)(A). Accordingly, if Defendants intend to oppose entry of the TRO, they
shall file any opposition papers by March 14, 2022.

       SO ORDERED.

Dated: March 9, 2022
       New York, New York
